                                          Case 2:18-cv-01243-WB Document 1 Filed 03/23/18 Page 1 of 13

                                                                                                         CIVIL COVER SHEET
                                                                                                                                                                                                                18                                    1243
        ~

     "· - ····1. c~er sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
               by"l'1ic'iiT rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF TJJJS FORM)

    I. (a) PLAINTIFFS                                                                                                                                   DEFENDANTS
    Brendan Bernicker                                                                                                                                 National Security Agency

            {b) County of Residence of First Listed Plaintiff                                  Delaware, PA                                             County of Residence of First Listed Defendant                           Anne Arundel, MD
                                          (EXCEPT JN US. PLAINTIFF CASES)                                                                                                      (JN US. PLAINTIFF CASES ONLY)
                                                                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                   THE TRACT OF LAND INVOLVED.

            {c) Attorneys (Fbn     """'"'Address, andTe@h<lne.JY.11mher)                                                                                 Attorneys (If Known)
                         10·1    Hilbde. C1rd-c:.                                                                                                     General Counsel, National Security Agency
    Pro Se                                                                                                                                            9800 Savage Road
                         Vil'"'-""V",      PA 1eio8'>
                                                                                                                                                      Ft. George G. Meade, MD 20755-6000
                          6•<>) 1.o:> -      o;.<J~

    II. BASIS OF JURISDICTION (Place an "X"inOneBoxO~ly)                                                                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box for Plaintiff
                                                                                                                                                   (For Diversity Cases Only)                                             and One Box for Defendant)
0 I            U.S. Government                      0 3      Federal Question                                                                                               PTF           DEF                                            PTF      DEF
                  Plaintiff                                    (U.S. Government Not a Party)                                                  Citizen of This State         01            0 I        Incorporated or Principal Place       0 4     04
                                                                                                                                                                                                       of Business In This State

{'//. 2        U.S. Government                      0 4      Diversity                                                                        Citizen of Another State           0 2       0     2   Incorporated and Principal Place                               0     5            0 5
                  Defendant                                    (Indicate Citizenship ofParties in Item Ill)                                                                                             of Business In Another State

                                                                                                                                                                                 0 3       0     3   Foreign Nation                                                 0     6            0 6

    IV. NATURE OF SUIT ,- ---- -·-
                                           .. ,,,
                                                                  -- ... -··-         ----    -···,//                                                                                       _&a_ ... ··-·-._.......   ·-~-·-   .......... --· ------ ._ . . . . .., ................
I                · >CONTRACT ; ·:                         " .· :;c:c ,.. ' . ·o.,:,.::.   ·TORTS~.:       . 11:"''-:>   :< .   ·····:.   ·:   .,f:F0RFEUl1URE1PENALT-Y• ··                     '.:BANKRUPTCY::•.:                 ~'!    ·::><:OmER!'STATUTES». · ··I
    0       110 Insurance                            PERSONAL INJURY               PERSONAL INJURY                                            0 625 Drug Related Seizure             o 422 Appeal 28 use 158               0 375 False Claims Act
    0       120Marine                           0    3 10 Airplane              0 365 !lcrsonal Injury -                                            of Property 21use881             0 423 Withdrawal                      0 376 Qui Tam (31 USC
    0       130 Miller Act                      0    315 Airplane Product              Product Liability                                      0 690 Other                                  28 USC 157                             3729(a))
    0       140 Negotiable Instrument                      Liability            0 367 f!calth Care/                                                                                                                        0 400 State Reapportionment
    0       150 Recovery of Overpayment         0    320 Assault, Libel &              Pharmaceutical                                                                                · ·"'""OPFR•                  .··-·- 0 410 Antitrust
                & Enforcement of Judgment                  Slander                     Personal Injury                                                                                0 820 Copyrights                     0 430 Banks and Banking
    0       151 Medicare Act                    0    330 Federal Employers'            Product Liability                                                                              0 830 Patent                         0 450 Commerce
    0       152 Recovery of Defaulted                      Liability            0 368 Asbestos Personal                                                                               0 835 Patent - Abbreviated           0 460 Deportation
                Student Loans                   0    340Marine                         Injury Product                                                                                        New Drug Application          0 4 70 Racketeer Influenced and
                (Excludes Veterans)             0    345 Marine Product                Liability                                                                                      0 840 Trademark                             Corrupt Organizations
    0       153 Recovery of Overpayment                    Liability             PERSONAL PROPERTY                                              - ·:, :-c .,,,,•'·B0R:..-;. <·          'S'""'-• '-'~EC"u'"''V• .· · 0 480 Consumer Credit
                of Veteran's Benefits           0    350 Motor Vehicle          0 370 Other Fraud                                             0 710 Fair Labor Standards              0 861 HIA (1395ft)                   0 490 Cable/Sat TV
    0       160 Stockholders' Suits             0    355 Motor Vehicle          0 371 ~ruth in Lending                                                 Act                            0 862 Black Lung (923)               0 850 Securities/Commodities/
    0       190 Other Contract                            Product Liability     0 380 Other Personal                                          0 720 Labor/Management                  0 863 DIWC/DIWW (405(g))                    Exchange
    0       195 Contract Product Liability      0    360 Other Personal                Property Damage                                                 Relations                      0 864 SSID Title XVI                 0 890 Other Statutory Actions
    0       196 Franchise                                 Injury                0 3 85 Property Damage                                        0 740 Railway Labor Act                 0 865 RSI (405(g))                   0 891 Agricultural Acts
                                                0    362 Personal Injury -             Product Liability                                      0 751 Family and Medical                                                     0 893 Environmental Matters
                                                          Medical Maloractice                                                                          Leave Act                                                           1" 895 Freedom of Information
I.              REAL'PROP.ER'EY                      ·· ·CJVU;:RIGBTS            PRISONER PETlTIONS                                           0 790 Other Labor Litigation           (   F:EDERALTAXSUITS'               :        Act
 0          210 Land Condemnation               o    440 Other Civil Rights       Hab~as Corpus:                                              0 791 Employee Retirement               0 870 Taxes (U.S. Plaintiff          0 896 Arbitration
 0          220 Foreclosure                     0    441 Voting                 0 463 Alien Detainee                                                  Income Security Act                    or Defendant)                 0 899 Administrative Procedure
 0          230 Rent Lease & Ejectment          0    442 Employment             0 510 Motions to Vacate                                                                               0 871 IRS-Third Party                       Act/Review or Appeal of
 0          240 Torts to Land                   0    443 Housing/                      sbntence                                                                                              26 use 7609                          Agency Decision
 0          245 Tort Product Liability                    Accommodations        0 530 General                                                                                                                              0 950 Constitutionality of
 0          290 All Other Real Property         0    445 Amer. w/Disabilitics • 0 535 l)cath Penalty                                             >> ·:-IMMIG~TlON.>-                                                              State Statutes
                                                          Employment              Other:                                                      0 462 Naturalization Application
                                                0    446 Amer. w/Disabilities - 0 540 Mandamus & Other                                        0 465 Other Immigration      -
                                                          Other                 0 550 Givil Rights                                                  Actions
                                                0    448 Education              0 555 Prison Condition
                                                                                0 560 Civil Detainee -
                                                                                       Conditions of
                                                                                       Confinement

    V. ORIGIN (Placean               "X"inOneBoxOnly)
~1             Original          0 2 Removed from                                 0       3      Remanded from                     0 4 Reinstated or              0 5 Transferred from                0 6 Multidistrict                              0 8 Multidistrict
               Proceeding            State Court                                                 Appellate Court                       Reopened                       Another District                    Litigation -                                   Litigation -
                                                                                                                                                                         (specifY)                        Transfer                                      Direct File
                                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                              F ACTION ,,.....5._U=·=s-'--".c'.....
                                                              -'- §5=5=2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    VI • CAUSE O                                      Brief description of cause:
                                                       Compel Response to FGIA Reauest
    VII. REQUESTED IN     0                                    CHECK IF THIS IS A CLASS ACTION                                                   DEMAND$                                          CHECK YES only if demanded in complaint:
         COMPLAINT:                                            UNDER RULE 23, F.R.Cv.P.                                                             0.00                                          JURY DEMAND:                               0 Yes                 ;i!No
    VIII. RELATED CASE(S)
                                                            (See instructions):
          IFANY                                                                                    JUDGE                                                                                 DOCKET NUMBER
    DATE                                                                                                SIGNATURE OF ,¢!lilEll¥s1Ru~RD f>l<'''~.,-f"'{°
    03/21/2018                                                                                          3/l$Y1<-lr:-fa---- ~~~
    FOR OFFICE USE ONLY

            RECEIPT#                      AMOUNT                                                           APPL YING IFP                                              JUDGE                                    MAG.JUDGE
                           Case 2:18-cv-01243-WB Document 1 Filed 03/23/18 Page 2 of 13

                                                                 UNITED STATES DISTRICT COURT                                                      18             1243
        E EASTERN DISTRICT OF PENNSYLVANIA -                              DESIGNATION FORM to be used liy counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff:      107 Hillside Circle, Villanova                     PA       19085
Address ofDefendant:         9800 Savage Road, Ft. George G. Meade, MD 20755-6000
~aceofAccidenL~cideruorTransaction:~N_/_A~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-
                                                                                       (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning l 0% or more of its stock?
     (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7. l(a))                                           YesD     No~

Does this case involve multidistrict litigation possibilities?                                                                              Yeso       NQ
RELATED CASE, IF ANY:
Case Number:                                        Judge                                                        Date T e r m i n a t e d : - - - - - - - - - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                YesD       NoQ'
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                                YesD       No\l'
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
      terminated action in this court?                                                                                                      YesD         N#


4. Is this case a second or successive habeas corpus, social security appeal, or prose civil rights case filed by the same individual?
                                                                                                                                            YesD         N<>+2f


CIVIL: (Place       v in ONE CATEGORY ONLY)
A      Federal Question Cases:                                                                                      B. Diversity Jurisdiction Cases:
 1. o Indemnity Contract, Marine Contract, and All Other Contracts                                                  1. o Insurance Contract and Other Contracts
 2.       D FELA                                                                                                    2. o Airplane Personal Injury
 3.       D Jones Act-Personal Injury                                                                               3.   D   Assault, Defamation
4. o Antitrust                                                                                                      4. o Marine Personal Injury
 5. o Patent                                                                                                        5. o Motor Vehicle Personal Injury
 6.       D    Labor-Management Relations                                                                           6. o Other Personal Injury (Please specify)
 7.       D Civil Rights                                                                                            7. o Products Liability
 8.       D Habeas Corpus                                                                                            8. o Products Liability -         Asbestos

 9.       D    Securities Act(s) Cases                                                                              9.   D   All other Diversity Cases

10.       D    Social Security Review Cases                                                                                  (Please specify)

11. .,/All other Federal Question Cases
       (Please specify) Freedom of Information Act (5 USC 552)


                                                                          ARBITRATION CERTIFICATION
                                                                            (Check Appropriate Category)
1,                   Brendan Bernicker                                         I d do hereby certify:
                                                                                       f


      o Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
      ¢                                              f }~-11,...
              Reliefother than monetary damages is sought.  .J
DATE:           3/21/2018                        15/                                       ft~u/d?A-                                               N/A
                                                             0 11
                                                                      Q   !  Plaintiff (Pro Se)
                                                                               '   1
                                                                                                                                   Attorney l.D.#
                                         NOTE: A trial de nova will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE:           3/21/2018                       l4zf/#?}4"'/'v                         ~~_,                                                        N/A
                                                             0
                                                                 !!       ;    ''           Plaintiff(ProSe)                                    Attorney l.D.#
CJY. 609 (5/2012)
                                Case 2:18-cv-01243-WB Document 1 Filed 03/23/18 Page 3 of 13



·.:\VJtv~\.12?
 •:'3)··   .. JJ:
                                            IN THE UNITED STATES.DISTRICT COURT
                                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
  ' /!       .~.

                                        CASE MANAGEMENT TRACK DESIGNATION FORM

                              Brendan Bemicker                                                  CIVIL ACTION

                                           v.
                              National Security Agency                                          NO       18          1243
                    In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
                    plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
                    filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
                    side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
                    designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
                    the plaintiff and all other parties, fl Case Management Track Designation Form specifying the track
                    to which that defendant believes the case should be assigned.

                    SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
                    (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )

                    (b) Social Security - Cases requesting review of a decision of the Secretary of Health
                        and Human Services denying plaintiff Social Security Benefits.                                 ( )

                    (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

                    (d) Asbestos - Cases involving claims for personal injury or property damage from
                        exposure to. asbestos.                                                                         ( )

                    (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
                        commonly referred to as complex and that need special or intense management by
                        the court. (See reverse side of this form for a detailed explanation of special
                        management cases.)                                                                              ( )

                    (f) Standard Management- Cases that do not fall into any one of the other tracks.                  (../)

                                                      g~~
                     3/21/2018                        Brendan Bernicker (Pro Se)                  Plaintiff
                    Date                               t ffQll'lllW &t lllW                  "ttHllllH   WF
                     (610) 203-0293                                                            bbernicker.@gmail.com

                    Telephone                            FAX Number                         E-Mail Address


                    (Civ. 660) 10/02
          Case 2:18-cv-01243-WB Document 1 Filed 03/23/18 Page 4 of 13




             IN THE UNITED STATES DISTRICT COURT
                                            , for the

                      EASTERN DISTRICT OF PENNSYLVANIA

                                          CIVIL DIVISION




BRENDAN BERNICKER

                         Plaintiff,
                                                     No.     18        124 a·
                 v.

NATIONAL SECURITY AGENCY                                   No jury Trial Demanded

                         Defendant.



              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


     Plaintiff Brendan Bernicker brings this action against Defendant National Security

Agency ("NSA") to compel compliance with the Freedom of Information Act, 5 U.S.C.

§552 ("FOIA"). As grounds therefor, Plaintiff alleges the following:

                                      JURISDICTION AND VENUE

     1.       Plaintiff Brendan Bernicker permanently resides at 107 Hillside Circle,

              Villanova PA 190i85, which is within the Eastern District of Pennsylvania.

     2.       The Court has jurisdiction over this action pursuant to 5 U.S.C.

              §552(a)(4)(B) artd 28 U.S.C. §1331.

     3.       Venue is proper in this district pursuant to 28 U.S.C. §139l(e).




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     Case 2:18-cv-01243-WB Document 1 Filed 03/23/18 Page 5 of 13




                                       PARTIES

4.       Plaintiff is an American Citizen and a "requester" within the meaning of

         FOIA. Plaintiff is not a government entity or the representative of a

         government entity subject to 5 U.S.C. §552(a)(3)(E).

5.       Defendant NSA is an agency of the United States. On information and belief,

         Defendant NSA has possession, custody, and control of records responsive to

         the FOIA request submitted by Plaintiff and described below.

                                 STATEMENT OF FACTS

6.       On May l, 2017, Plaintiff submitted a FOIA request to Defendant NSA.

7.       On May 8, 2017, Defendant NSA contacted Plaintiff and asked Plaintiff to

         clarify and narrow his FOIA request. Plaintiff accordingly clarified and

         narrowed his FOIA request on that same date.

8.       On May 9, 2017, Defendant NSA acknowledged receipt of the revised request

         and stated that it "would return to the initial processing queue pending a

         search for material."

9.       Defendant NSA was required by 5 U.S.C. §552(a)(6)(A) to determine

         whether to comply with Plaintiffs request within 20 working days and to

         immediately notify Plaintiff of that determination and the reasons therefor.

10.      Plaintiff concedes that May 8, 2017 did not count against this twenty-

         working-day time limit pursuant to 5 U.S.C. §552(a)(6)(A)(ii)(l).

11.      Defendant NSA was therefore required to respond to Plaintiffs request on

         or before May 31, 2017.




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12.   Defendant sent Plaintiff a letter dated May 11, 2017, in which it claimed

      to be experiencing delays in processing due to "a significant increase in the

      number of requests being received by this agency."

13.   Under 5 U.S.C. §552(a)(6)(C)(ii), "a delay that results from a predictable

      agency workload' of requests under this section" does not constitute an

      "exceptional circumstance" that would justify an extension of the statutory

      time limit.

14.   Defendant did not provide notice to Plaintiff that Defendant would need

      an extension of the time limit to process Plaintiff's request pursuant to 5

      U.S.C. §552(a)(6)(B)(i).

15.   Defendant did not communicate to Plaintiff any determination on whether

      Defendant would comply with Plaintiff's FOIA request. Defendant further

      did not provide any information responsive to Plaintiff's FOIA request in

      this letter, nor did it claim that any material was exempt from disclosure

      under FOIA.

16.   In its May 11, 2017 letter, Defendant stated "we will begin to process

      your request and will respond to you as soon as we are able."

17.   Defendant did not communicate with Plaintiff again before May 31, 2017,

      the statutory deadline for Defendant to respond to Plaintiff's request.

18.   Plaintiff patiently waited more than six months for Defendant to respond

      to Plaintiff's FOIA request. When Defendant failed to respond, Plaintiff




                                      3
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      sent a follow-up email asking for an update on the processing of his

      request on November 17, 2017.

19.   After more than nine months since its last communication, and after an

      additional follow-up email, Defendant replied on February 12, 2018 that

      Plaintiffs request "has not gotten lost." Defendant did not respond to the

      Plaintiff's request at this time.

20.   On February 13, 2018, replying to a specific inquiry from Plaintiff,

      Defendant provided its first estimate of when it expected to respond to

      Plaintiffs request. Defendant stated that a "ballpark estimate would be 24

      - 36 months." Defendant did not reply to an email from Plaintiff asking

      whether that was twenty-four to thirty-six months from that date or from

      the submission of the request.

21.   On February 15, 2018, Plaintiff sent a letter to the NSA FOIA Public

      Liaison by email and certified mail.

22.   By statute, FOIA Public Liaisons "serve as supervisory officials to whom a

      requester under t~is section can raise concerns about the service the

      requester has received from the FOIA Requester Center." 5 U.S.C.

      §552(1). Additionally, they "shall assist in the resolution of any disputes

      between the requester and the agency." 5 U.S.C. §552(a)(6)(B)(ii)).

23.   As of the time of this filing, the NSA FOIA Public Liaison has ignored

      Plaintiff's request for assistance and a subsequent follow-up email and has

      not responded to the concer~s raised by Plaintiff in his February 15 letter.




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24.   By statute, "any person making a request to any agency for records under

      paragraph (1), (2), or (3) of this subsection shall be deemed to have

      exhausted his administrative remedies with respect to such request if the

      agency fails to comply with the applicable time limit provisions of this

      paragraph." 5 U.S.C. §552(a)(6)(C)(i).

25.   Plaintiff made a request under paragraph 3 of that subsection.

26.   Defendant NSA failed to comply with the applicable time limit provisions

      of that paragraph.

27.   Plaintiff has exhausted his administrative remedies with respect to his request.

28.   Plaintiff has made considerable efforts to resolve his dispute informally

      without initiating legal action, but Defendant has repeatedly ignored Plaintiff's

      communications over the course of more than ten months. This is true of both

      the NSA FOIA Requester Service Center Staff and the NSA FOIA Public

      Liaison who together, on information and belief, constitute Defendant NSA's

      mechanism for responding to FOIA requests and mediating disputes arising

      from the processing of these requests.

29.   Because Defendant has neither made the requested records promptly available

      to Plaintiff, nor asserted that no responsive records exist or that responsive

      records are exempt from disclosure under FOIA, the records that Plaintiff

      requested from Defendant are being improperly withheld from Plaintiff.

30.   This Court is empowered to "order the production of any agency records

      improperly withheld" from Plaintiff by 5 U.S.C. §552(a)(4)(B).




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       Case 2:18-cv-01243-WB Document 1 Filed 03/23/18 Page 9 of 13




              COUNT 1: VIOLATION OF THE FREEDOM OF INFORMATION ACT

     31.    Paragraphs 1-30 of this complaint are re-alleged and incorporated by reference

            as if fully set forth herein.

     32.    Defendant NSA has violated FOIA by failing to produce any and all non,.

            exempt records responsive to Plaintiffs May l, 2017 FOIA request within the

            time limit imposed by 5 U.S.C. §552(a)(6)(A)(i), or otherwise denying the

            existence of such records or asserting that such records are exempt from

            disclosure under 5 U.S.C. §552(b).

                                            CONCLUSION

     For the above-stated reasons, the Plaintiff hereby requests that the Court: (I) declare

Defendant's failure to comply with FOIA to be unlawful, (2) order Defendant to search for

and produce any and all non-exempt records, or reasonably segregable non-exempt portions

of records, responsive to Plaintiff's May 1, 2017 request within 30 days of the date of the

order, and (3) enjoin defendants from continuing to withhold the same, (4) order

Defendants to provide a Vaughn index of responsive records subject to a claim of exemption,

(5) grant Plaintiff litigation costs reasonably incurred in this action pursuant to 5 U.S.C.

§552(a)(4)(E), and (6) grant Plaintiff such other relief as the Court deems just and proper.


Dated: March 21, 2018                                 Respectfully submitted,

                                                      13.~g~
                                                      Brendan Bernicker, Plaintiff
                                                      107 Hillside Circle, Villanova PA 19085
                                                      bbernicker@gmail.com
                                                      (610) 203-0293


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                          Case 2:18-cv-01243-WB Document 1 Filed 03/23/18 Page 10 of 13


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                             IN THE UNITED STATES DISTRICT COURT
                                                                 for the

                                       EASTERN DISTRICT OF PENNSYLVANIA

                                                           CIVIL DIVISION



                   BRENDAN BERNICKER
                                            Plaintiff,
                                                                       Civil Action No.
                                                                                           18            1243
                                  v.

                   NATIONAL SECURITY AGENCY                                     No jury Trial Demanded
                                            Defendant.


                                              SUMMONS IN A CNIL ACTION


                   To: Jefferson B. Sessions III
                       Attorney General of the United States
                       U.S. Department of Justice
                       950 Pennsylvania Avenue, NW
                       Washington, DC 20530-0001

                   A lawsuit has been filed against you. Within 30 days after service of this summons on you
                   (not counting the day you received it) you must serve on the plaintiff an answer to the
                   attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure, as
                   required by 5 U.S.C. §552(a)(4)(C). The answer or motion must be served on the
                   plaintiff, whose name and address are:
                                                          Brendan Bernicker
                                                          107 Hillside Circle
                                                         Villanova, PA 1908 5
                   Alternatively, the Plaintiff will also accept service by email at bbernicker@gmail.com. If
                   you fail to respond, judgment by default will be entered against you for the relief
                   demanded in the complaint. You also must file your answer or motion with the court.

                                                                                 CLERK OF COURT

                   Date: - - - - - - - -
                                                                                 Signature of Clerk or Deputy Clerk
        Case 2:18-cv-01243-WB Document 1 Filed 03/23/18 Page 11 of 13




           IN THE UNITED STATES DISTRICT COURT
                                            for the

                    EASTERN DISTRICT OF PENNSYLVANIA

                                        CIVIL DIVISION


BRENDAN BERNICKER
                         Plaintiff,
                                                  Civil Action No.    18           1 24 3
               v.

NATIONAL SECURITY AGENCY                                    No jury Trial Demanded
                         Defendant.


                            SUMMONS IN A CIVIL ACTION

To: General Counsel
    National Security Agency
    9800 Savage Road
    Fort George G. Meade, MD
    20755-6000

A lawsuit has been filed against you. Within 30 days after service of this summons on you
(not counting the day you received it) you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure, as
required by 5 U.S.C. §552(a)(4,)(C). The answer or motion must be served on the
plaintiff, whose name and addre~s are:
                                       Brendan Bernicker
                                      107 Hillside Circle
                                      Villanova, PA 19085
Alternatively, the Plaintiff will also accept service by email at bbernicker@gmail.com. If
you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

                                                             CLERK OF COURT

Date: - - - - - - - -
                                                             Signature of Clerk or Deputy Clerk
                     Case 2:18-cv-01243-WB Document 1 Filed 03/23/18 Page 12 of 13



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                          IN THE UNITED STATES DISTRICT COURT
                                                            for the

                                   EASTERN DISTRICT OF PENNSYLVANIA

                                                       CIVIL DIVISION



               BRENDAN BERNICKER
                                        Plaintiff,                                      18           1243
                                                                  Civil Action No.
                              v.

               NATIONAL SECURITY AGENCY                                    No jury Trial Demanded
                                        Defendant.


                                          SUMMONS IN A CNIL ACTION

               To: Civil-Process Clerk
                   U.S. Attorney's Office
                   615 Chestnut Street, Suite 1250
                   Philadelphia, PA 19106


               A lawsuit has been filed against you. Within 30 days after service of this summons on you
               (not counting the day you received it) you must serve on the plaintiff an answer to the
               attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure, as
               required by 5 U.S.C. §552(a)(4)(C). The answer or motion must be served on the
               plaintiff, whose name and address are:
                                                      Brendan Bernicker
                                                     107 Hillside Circle
                                                     Villanova, PA 19085
               Alternatively, the Plaintiff will also accept service by email at bbernicker@gmail.com. If
               you fail to respond, judgment by default will be entered against you for the relief
               demanded in the complaint. You also must file your answer or motion with the court.

                                                                            CLERK OF COURT

               Date: - - - - - - - -
                                                                            Signature of Clerk or Deputy Clerk
        Case 2:18-cv-01243-WB Document 1 Filed 03/23/18 Page 13 of 13


                               BRENDAN BERNICKER
                               107 Hillside Circle, Villanova PA 19085
                                610-203-0293 bbernicker@gmail.com
                                      I




March 21, 2018

U.S. District Court, ED of PA
2609 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1797


RE: Pro Se Complaint Against the National Security Agency


Clerk of Court:

         Enclosed please find a Civil Complaint that I am filing against the National Security
Agency, as well as what I believe to be all of the necessary paperwork. Please charge the filing
fees to my credit card, for which the information is provided on the court's form.
         I have provided three summonses that have been modified to reflect the fact that
respondents are required to reply within 30 days to FOIA complaints. I have also enclosed a
stamped and self-addressed envelope with which to return the summonses. I would be happy
to   e-file moving forward, but I am not an attorney so I do not know if that is allowed. If you
need anything else, please call ~e at 610-203-0293 or email me at bbernicker@gmail.com.



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Brendan Bernicker
Graduate Student in Political Science
Penn State University
bbernicker@gmail.com
(610) 203-0293

Enclosures:
1.    Cover Sheet
2.    Complaint (6 pages)
3.    Category Designation   Forrr~
4.    Case Management Designation Form
5.    Credit Card Collection   Ne~work    Authorization Form
6.    Three Summonses (one each for USAO, Attorney General, and NSA General Counsel)
7.    Stamped and Self-Addressed Envelope (to return signed and sealed summonses)
